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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

                                               )
 LEGACY SPORTS BARBERSHOP LLC                  )
 n/k/a LEGACY BRAND ENTERPRISES                )
 LLC d/b/a LEGACY SPORTS                       )       Civil Action No. 1:20-cv-04149
 BARBERSHOP, LEGACY BARBER                     )
 ACADEMY, and PANACH CORP.,                    )       Hon. Charles P. Kocoras
 individually and on behalf of all others      )
 similarly situated,                           )
                                               )
        Plaintiffs,                            )
                                               )
            v.                                 )
                                               )
 CONTINENTAL CASUALTY                          )
 COMPANY,                                      )
                                               )
        Defendant.                             )
                                               )

                                     NOTICE OF APPEAL

       Notice is hereby given that (i) Legacy Sports Barbershop LLC n/k/a Legacy Brand

Enterprises LLC d/b/a Legacy Sports Barbershop, (ii) Legacy Barber Academy, and (iii) Panach

Corp., individually and on behalf of all others similarly situated in the above-named case, do

hereby appeal to the United States Court of Appeals for the Seventh Circuit from the district court’s

order granting Defendant Continental Casualty Company’s motion to dismiss. The Order and

Judgment are district court docket entry nos. 49 and 50, respectively, entered on August 13, 2021.

Pursuant to Fed. R. App. P. 4(a)(1), this Notice of Appeal is timely filed within thirty days of the

Court’s entry of Judgment.




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Dated: August 16, 2021                     Respectfully submitted,

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                                                    and the Proposed Classes

*Applications for admission pro hac vice to be filed




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 16th day of August, 2021, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send a Notice of

Electronic Filing to all counsel of record that are registered with the Court’s CM/ECF system.


                                                    /s/ Adam J. Levitt

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